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       Ryan Scott Zink



           Defendant(s)




                             January 6, 2021


Code Section                                                 Offense Description

18 U.S.C. § 1512(c)(2) - Obstruction of an Official Proceeding
18 U.S.C. § 1752 (a)(1) and (2) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without
Lawful Authority and engages in any act of physical violence against any person or property in any restricted
building or grounds




                                                                            Complainant’s signature

                                                                  Michael D. Brown , Special Agent
                                                                             Printed name and title



                                                                                           2021.02.02
    02/02/2021
                                                                                           19:19:35 -05'00'
                                                                               Judge’s signature

                                                                 Zia M. Faruqui, U.S. Magistrate Judge
                                                                             Printed name and title
